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To:

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Case 3:25-mj-00324-@ Document 13 Filed 04/10/25 @... lofi PagelD 33
B (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
Northern District of Texas
United States of America

v. )
) Case No. 3:25-MJ-324-BK

Robert Wilson King

)

)

Defendant
ARREST WARRANT

Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
pi person to be arrested) — Robert Wilson King ,

whd ig accused of an offense or violation based on the following document filed with the court:

C fhdictment © Superseding Indictment Cl Information © Superseding Information & Complaint
oO bation Violation Petition [ Supervised Release Violation Petition O Violation Notice Order of the Court
ffense is briefly described as follows:
14 U.S.C. § Interstate Communications
8EXc)
£
Datg: | 04/03/2025 5:51 pm ONO &
Ly Issuing officer’s signature 28
Ci ch state: Dallas, Texas RENEE HARRIS TOLIVER, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) Y/7/. a7 , and the person was arrested on (date) o 7 / Cy
stint) DALLA, Tf ae
Dai 4] ZF
7 Arresting officer’s signature
4 fpae! Wem, C1tas
Printed name and title
4
17 #7039 FY

